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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
MITCHELL WASILEWSKI,
on behalf of himself and all other
persons similarly situated, known and
unknown,
             Plaintiff,
                                         Case No: 2:18-cv-12167-AJT-EAS
vs.                                      Hon. Arthur J. Tarnow
                                         Magistrate Judge Elizabeth A. Stafford
SILVERSTAR DELIVERY LTD,
GOLD STANDARD
TRANSPORTATION, INC., and
AMAZON.COM, LLC,
             Defendants.
__________________________________________________________________/
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           JOINT MOTION FOR APPROVAL OF SETTLEMENT

      Plaintiff Mitchell Wasilewski (“Plaintiff”) and Defendants Silverstar Delivery

LTD. (“Silverstar”), Gold Standard Transportation, Inc. (“Gold Standard”), and

Amazon.com, LLC (“Amazon”) (together, “Defendants”) (collectively, the

“Parties”), by their attorneys, hereby move this Court to issue an Order approving

the Parties’ Confidential Settlement Agreement and Release (“Settlement

Agreement”). In support of their motion, the Parties state as follows:

      1.     On July 11, 2018, Plaintiff filed a Complaint on behalf of himself and

all other persons, known and unknown, alleging Plaintiff and other similarly situated

delivery drivers were not paid at least one and one-half their regular rate of pay for

hours worked over 40 in a workweek in violation of the Fair Labor Standards Act,

29 U.S.C. § 201 (“FLSA”) and the Michigan Workforce Opportunity Wage Act

(“WOWA”), MCL § 408.411 et seq. and Defendants did not pay minimum wage in

violation of WOWA. (Dkt. No. 1). The Michigan claims were also filed as Class

Action claims under Federal Rule of Civil Procedure 23. Each Defendant denies

any and all liability and denies that Defendant Amazon and/or Defendant Gold

Standard are joint employers of Defendant Silverstar’s drivers.

      2.     By separate Motion, Plaintiff has requested dismissal of the collective

action claims as well as the Rule 23 state law claims. A nearly identical lawsuit was

filed prior to the filing of Plaintiff’s Complaint. Plaintiff is a putative collective


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member of that earlier-filed action, Aaron Smith v. Silverstar Delivery Ltd., and

Amazon.com LLC, No. 2:18-cv-10501-DML-RSW (E.D. Mich. Feb. 12, 2018).

When Plaintiff became aware of the earlier-filed action, he declined to opt in to the

Smith matter. Instead, he elected to resolve his claims with Defendants on an

individual basis. Nothing about this case, or this settlement, will have any adverse

effect on any claim of any past or present employee of Defendant Silverstar.

      3.     The Parties have agreed to resolve Plaintiff’s individual claims and

have memorialized that agreement in a Confidential Settlement Agreement and

Release. A copy of that Settlement Agreement has been provided with the Parties’

courtesy copy of this motion to the Court’s chambers. The Parties submit the

proposed settlement is a fair and reasonable settlement of a bona fide dispute over

Plaintiff’s claims under the FLSA and WOWA.

      4.     The proposed settlement was reached through arms’ length negotiations

by experienced wage-and-hour attorneys, after the Parties became intimately

familiar with the facts of the case and Silverstar’s available time and pay records.

      5.     All Parties have entered into this settlement voluntarily and knowingly

and all understand fully the meaning and effect of their actions. Furthermore, the

Parties agree that the settlement is in the best interest of the Plaintiff, as it enables

him to recover the allegedly unpaid overtime without the uncertainty associated with

litigation and the necessity or delay of trial or possible appeals.


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      6.     Because this action was brought under the FLSA, the Parties seek the

Court’s approval of the terms of the settlement. See Brooklyn Sav. Bank v. O’Neil,

324 U.S. 697, 65 S. Ct. 895, 89 L. Ed. 1296 (1945) (requiring Court or Department

of Labor approval for FLSA settlements and explaining low standard for judicial

review when parties are represented by counsel).

      7.     It is the Parties’ intention that the settlement entered into in this matter

shall constitute full and final settlement of the Plaintiff’s claims that were alleged or

could have been brought in this matter.         Accordingly, within seven (7) days

following Plaintiff’s counsel receiving the final payment from Silverstar, to the

Plaintiff, Plaintiff’s counsel shall file a stipulation of dismissal with the Court, with

such dismissal to be with prejudice as to the Plaintiff.

      WHEREFORE, the Parties respectfully move the Court to issue an Order

approving the Parties’ settlement.

DATED: March 29, 2019

Respectfully Submitted,

s/ Bryan Yaldou
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